         Case 7:12-cv-06421-KMKDawn M. Bronson
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                                        1275 Fairhills Drive
                                      Ossining, NY 10562

                                                      June 15, 2023
Hon. Judge Kenneth M. Karas
United States District Court
300 Quarropas Street
533 White Plains, NY 10601-4150

Re: SEC v. Edward Bronson, et al., 12cv06421 (KMK)

Dear Judge Karas:
From the outset, I must point out that I continue to write pursuant to and my husband's direction
and solely on his behalf. To the extent that I speak for myself, it is in connection with the SEC's
motion to hold me in contempt. But I'm not petitioning the court on my behalf and for my injury
and relief, but for Edward's. I believe that this addresses Ms. King's argument that I lack standing
to bring a motion. I will now address the merits of Ms. King's answer to my letter.
Ms. King clearly misses the point. While Ms. King repeatedly writes that Edward has been
noncompliant, she has reduced her argument to asking the Court to have Edward prove a
negative. I have provided the Court with lists of all the records we supplied, which is all the
accounts Edward and I have had. Ms. King's response is "what about the overseas accounts," but
although, Ms. King's letters and motions show that she has analyzed our bank records, Ms. King
has never pointed to a transfer that she believes went overseas except for the account that was
opened but not used in 2017 for a Real Estate investment opportunity that went nowhere.
Edward nor I have ever had an overseas account. It should not be enough for the SEC to have all
our records and simply repeat "what about the overseas money," without showing one bit of
evidence that any money went overseas.
So, while Ms. King is very good at writing these noncompliance letters, she bases
"noncompliance" on accusations without proof. Except for "overseas," there are no details of where
she believes money is, just that she believes it's out there somewhere. The real facts are that we
have provided everything asked for in existence and Ms. King is dissatisfied with the answer
despite it being the truth. It appears winning has become more important than reality. The reality
is that Edward has been incarcerated for 16 months, he has no income, no assets and has no idea
what his income will be once he's released. I have no income and a TRO/Asset freeze on my bank
accounts since December 30, 2022. This includes money I made from selling plants. I have not
been able to run the business or generate any income to support my family since the TRO. Edward
is requesting a hearing/financial evidentiary hearing for Friday June 16, 2023, or soon thereafter,
so we can learn what evidence Ms. King believes shows that money remains hidden, and that
Edward is in contempt and should remain imprisoned. He has been incarcerated since February
16, 2022, and a financial evidentiary hearing is long overdue.
On May 31, 2023, I was informed by Mr. Reizenstein that he was going to file a motion
withdrawing from representation. He filed his Motion to withdraw on June 9, 2023. I have not
spoken to Mr. Reizenstein. We communicated via email, on June 1st and on June 5th, when he
sent me his motion to withdraw. He filed his motion to withdraw on June 9, 2023. It would have
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           helpful if he would have sent Document
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he did not. Edward and I do not have representation or guidance.
I emailed Ms. King directly on June 1, 2023, and told her that I would be sending her the last of
the open items that the SEC requested. The SEC's stall tactic has put my family's health and well-
being in jeopardy. We currently have no health care insurance, and my children have no asthma
medication, no access to therapy and emergency room medical bills accumulating.
The SEC alleges that at-best I misstated a key fact: that the SEC did not agree to a settlement
with Edward. The SEC did in fact discuss a proposed deal for Edward's release with Mr.
Reinzenstein. The email that I sent to Ms. King highlights the proposed deal which Mr.
Reizenstein conveyed to Edward. The email to Ms. King is attached to my letter motion to the
Court filed via ECF on June 7, 2023. I did not misstate any fact, I reference "The proposed deal
as discussed with Mr. Reizenstein" in my June 5th email to her, but Ms. King is mischaracterizing
what I said. At least twice we thought we were close to settlement. The first time, Ms. King seemed
to agree to settlement terms, but later told Mr. Burstein that the settlement was not approved. We
have had poor luck, keeping counsel. But it appears that every time Counsel withdraws from the
case, the SEC withdraws from settlement progress, and pounces on the opportunity to stall and
prolong Edward's incarceration. Then it's back to ground zero with trying to negotiate a settlement
and the SEC reviving empty accusations that we are withholding evidence and that no settlement
had been close. Each time counsel withdraws, the SEC uses its advantage to turn back the clock,
turn the screws and extract a new harsher deal than they were discussing with an attorney. This is
unfair and should not be tolerated by this Court. The government is wasting the Court's time by
resetting the clock. They negotiate in bad faith, to say the least. We are at the point where Edward's
health is rapidly declining, and my children are suffering. I respectfully request that the Court
schedule a hearing to assist in facilitating a deal for and a hear for Edward's Immediate release.
If this path of destruction continues, the SEC will not be made whole. Judgments become
impossible to collect when the defendant is jailed or dies. These are the SEC's words not mine.
Three years into the contempt proceeding, we have provided full and complete accountings of all
our accounts and assets. The SEC was informed by Mr. Reizenstein that I could not complete the
2021 accounting in detail without Edward or a forensic accounting. As part of the proposed deal,
Mr. Reizenstein told Edward that the SEC agreed to a forensic accounting and upon Edward's
release, a complete forensic accounting would be completed in 45 days. Now the SEC claims
that they never requested a forensic accounting, just affidavits. Then what are they requesting? A
full detailed accounting of all personal and entities means exactly that to me. Followed by an
affidavit under oath that the accounting is complete and correct. I did provide the SEC with
categorized spreadsheets, but now that we have no counsel, they are not good enough anymore. I
sent the SEC the information in two different forms with a breakout. That is the best that I can do
without all the corresponding documentation. I don't know what deals were done in 2021
because I was not involved so I can't provide accurate information. We have done everything that
can be done without Edward. Edward needs to be released so that he could provide that
requested information. To keep Edward in jail for information that we cannot provide while he is
in jail turns his imprisonment for contempt into a version of Modern-day debtor's prison, where
the debtor cannot pay because he is in prison but will not be released until he pays. He cannot
review thousands of pages of bank statements and find the corresponding documentation sitting
in a cell. I cannot "do the best that she can" as the SEC has requested. I was not involved, and I
have very little knowledge and there will be consequences if I get it wrong. The fact that the SEC
is now requesting that 2021 be completed while Edward is incarcerated shows bad faith on their
part: weeks ago, when Edward had counsel, Mr. Reizenstein stated that it needed to be done by
Edward and the SEC agreed to that.

There are no assets held by Edward directly or indirectly. Our current expenses have been
provided and past expenses that will be completed with the forensic accounting. The bloated
$25,000 per month expenses are the lowered expenses. Two-thirds of the highest living expenses


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growing because I must borrow money to survive. The reduction of our lifestyle is already in
effect, but the SEC chooses not to see that. As I stated before, holding Edward in jail will not just
lower our debt. In fact, it's increasing our debt. I'm not sure how the SEC expects me to just wave
my magic wand and make all debt owed disappear. My house is in foreclosure. What good would
it do if I abandon the house now and move six people into my son's car. The SEC's present
position is absurd and makes no sense. If Edwards's imprisonment is to compel him to disclose
and to cooperate, it has done its job and now is just a punishment. We have disclosed and need
him released to further cooperate. That is not contempt. Although Ms. King claims that Edward
is refusing to provide complete financial transparency, to prolong his incarceration, the burden
must be on Ms. King to explain in detail what she thinks in missing, but why she thinks it exists
and how Edward can comply while imprisoned.
While Ms. King says we have not been forthright, I didn't mean to present a dissertation on
Edward's entire medical history. The facts are that he is presently in the jail's psychiatric ward,
that he does not receive the medication he was taking before he was imprisoned, he has been
injured on several occasions while in the general population and his physical and mental health
are deteriorating. If required, I will request his medical records from the jail.
The SEC has not only recently learned of pawned jewelry. They have known about this for quite
some time. In my 2021 deposition this information was disclosed to Ms. King. Eighty percent of
pawned jewelry was given to me by others or which I bought before I knew Edward. Most of the
jewelry came from my ex-fiancé who was in the diamond business. I believe that the SEC is
exaggerating the value of the jewelry, but a hearing will help estimate the true value and where it
came from. We can then address what the SEC believes they are entitled to. I also testified on
December 12, 2022, that jewelry was pawned, that I did not know the true value and that all the
pawn slips couldn't be located. The SEC knows that my salable or auction item list may be
incomplete. It's in Mr. Reizenstein's letter. Edward handled the loans for me so he will need to
locate the slips. The SEC has no legal right to try to attach to my pawned jewelry or the proceeds
from any auctions. Especially any items that were gifted from a third party, before my marriage
or gifted from my husband prior to the year 2000. Some of those items were gifted to me or my
daughter from my mother, Edward's stepmother, or my grandmothers. The SEC has no legal right
and once again they are overreaching. To move this forward, and despite their having no
connection to the money sought by Ms. King, I am willing to turn over any non-sentimental
items, and we can address this with the court's assistance. Most of our valuable pieces were sold
from 2013-2016, not pawned, as we needed money for the SEC litigation. I will ask Edward if he
has the paperwork for those items and provide the SEC with that information.
The SEC continued to press for complete accountancy and the Court held a hearing on December
12, 2022, which proved no assets were being held by a third party. Mr. Burstein acknowledged in
his January 2023 letter to the Court that: Mr. Bronson could not be released from incarceration
unless the Bronson’s provided a full accounting. I've addressed this above. If what I've submitted
doesn't satisfy the government then a full forensic accounting is necessary with the assistance of
the defendant, Edward Bronson. I cannot account for anything that I was not involved in, and
Edward cannot account for it from prison.
The introduction of the red herring- of unavailable funds for a forensic accountant. Edward can
explain the accounting and he has never claimed that he wasn't. Just not from jail. He has no
assets and currently has no income. Nothing is being held anywhere by anyone. The December
12, 2022, hearing evidenced that. Ms. King called her own witnesses that day. Ms. King claims
that all they wanted was an accounting with an affidavit not a forensic accounting. It seems
unfair that after 16 months of incarceration Ms. King is now contending that she only requires
sworn affidavits. It seems that, despite the SEC's constantly changing position, a forensic



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SEC can choose the Forensic Accountant and Edward and I will work to fry to pay for it.
All and every asset have been provided, unless the government wants clothing. I provided a list
of items to Mr. Reizenstein, which he then sent to the SEC. We have furniture, our original
dining room, bedroom and living room that I'm willing to turn over. I provided photos of those
items. I'm not sure what else there is to turn over. We still have our legs. We don't have our
health. What more can we give? I don't own any clothing over $1,000. I wear clothing from
Zara, H & M and Target. I'm happy to take photos of my closet and show the government the
labels. I wear fake jewelry. I have for years. Ms. King knows that because she commented to
Edward's previous counsel that my fake Chanel earrings would be mentioned during my
contempt hearing. I wore the earrings to the December 12, 2022, hearing. I purchased them at TJ
Maxx for $26 dollars. I'm happy to turn them over to the SEC. I don't own or wear fur. I'm a
volunteer foster for injured animals. Edward's stepmother left me her fur coats when she died. I'll
turn them over to the SEC. His stepmother also left me her cats and her family photos which the
SEC has no right to.
A diminution in lifestyle is clearly required and should be discussed at a hearing in front of this
court. I cannot simply pack up my children, father and pets and abandon a house and live on the
streets, without running water and electricity because Ms. King believes that I should do without
the basic necessities to pay SEC. The judgment is not against my children and foreclosing
currently makes no sense. Instead, the SEC should take the lion's share of the money that we
have offered, release Edward and allow him the medical treatment he needs so that he can work
and commence making payments. That's what does make sense, not this punishment which no
longer compels, but prevents compliance. As for my expenses and my fathers, I'm not sure what
the SEC is referencing. My expenses are living expenses. My father's expenses are $300 a
month. My father has no income, we are now living on his Social Security money. If Ms. King is
referencing a prior heating bill that is owed, that's a debt in my father' s name. That account was
in his name. He lives with us.
The proposed payment plan of 75% of Edward's gross income is unreasonable and would leave
us homeless. That makes no sense for the SEC or us. We would then need to sell every item in
our house and hope that we have enough cash to pay for an apartment for 7 people. It's
unreasonable and we need the court's guidance to determine the percentage. And 75% was not
the agreed percentage when Ms. King was negotiating with attorneys. There should be no
difference because Edward has no attorney.
No wires have been sent as accounts have been frozen. I will provide the SEC with Top Knot's
withdrawals once again.

As to the $30,000 I hoped to carve out for living expenses. We have no money, not one dollar.
We live off my family and friends and my father's Social Security money. That money helps us
pay for jail commissary, video calls with Edward to ensure we're always connected, and food
that’s needed to survive. My eldest son helps buying food, pays some of the smaller bills, and
makes sure that his siblings have what they need. He also pays his car lease.
My family needs health insurance, food, and electricity. Edward will need care whether
hospitalization or home care, this is a priority. We need medical coverage that covers our needs
and not what the SEC thinks that we should live with. Mr. Reizenstein has discussed his concerns
with Ms. King, and she refused to agree to permit him to allow him to use any portion of the
$90K being held. Ms. King knows that I've had to take the kids to the emergency room for what
would previously have been ordinary medical care. Ms. King understands that the medical bills
are adding to our expenses. No one has been able to take their normal dosage of medication. If I
don't have the money or if I can't borrow it, we do without it. My children have not had albuterol

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inhaler and asthma pills in the school. I believed the school may have addressed this issue as they
are aware that Edward is being held on civil contempt and my bank account remain frozen. The
pediatricians are aware, and I hope that they address this matter as well. Our therapist is also
aware. They understand that the SEC is moving forward to try and hold me in contempt. They
are aware that I cannot feed my children without the help of family and friends, nor can I provide
healthcare for them. If I do, I will be held in further contempt. I need two injections of Skyrizi
every twelve weeks, which I currently cannot pay for. I need a mammogram, sonogram and a
biopsy of a mass that continues to grow. My Radiologist is aware of my situation. I need to have
Stapedectomy surgery for Otosclerosis and cannot pay for the surgery. My doctors are aware of
this. Not all insurances policies cover major surgeries like this, but United Healthcare does. My
children need their own inhalers and asthma medication. They also need to continue with
therapy. This is beyond abuse at this point, and certainly is not needed to compel Edward's full
cooperation.
As for the SEC taking its own steps, by gathering and seeking privileged and confidential
medical records. Medical records are considered highly sensitive and available only to those
who need to know and/or have been given consent. Edward has verbally waived his right so for
the Court to review his medical records in Camera. The Commissioner has no right to Edward's
confidential medical records under HIPAA regulations, nor do they have the right to exploit his
privacy via court filings. I ask the court to address this.
As to a budget being needed, we never said that we couldn't provide a budget. We simply said
that we have no idea what our income will be. How can we provide a budget when Edward has
been in jail for 16 months. We have no idea what his income will be. As such it's unreasonable to
work off anything other than the expense list right now. We provided the expense list and have
no window into future earnings until Edward is released and starts working. As such, it's
impossible to provide a realistic budget that is not purely speculative until Edward is out, healthy
and working. All expenses provided represent a true and accurate picture of our current situation.
The government repeatedly harks on changing lifestyle. Our lifestyle has already changed. Our
two main expenses are shelter and healthcare. The house and its three mortgages are in default
and no easy sale solution is viable. Currently the house is under water. The other remaining
expense is healthcare. Our healthcare insurance has been terminated for failure to pay. We need
to have health insurance restored and we will need to pay for it. As previously stated, Edward
proposes 50% percent of future income to the government. Approximately two thirds of our
expense list consist of shelter and health care.
Although Ms. King repeats that Edward has stated that he has the ability to pay, she
mischaracterizes that statement to win the argument. Edward is indeed capable of paying, but
only if he is released and working. Edward's incarceration is no longer coercive and now
punitive. I respectfully request that the Court schedule an emergency hearing for this Friday,
June 16th to assist with a reasonable deal. Cleary the SEC is willing to make a deal because
they propose specific terms on page 6. The SEC has refused to come before this Court and
subject themselves to Court oversight on a proposed deal which would also demonstrate his
total inability to cure his attempt. Instead, they have prolonged this discovery process by
requesting more documentation which has no end. All in the attempt to extract the harshest
deal from Edward.



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has no right to privileged and confidential medical records. The SEC would need a warrant or
Court order to access Edward's medical information without his written consent. Warrantless
access to medical information violates the U.S. Constitution, especially the Fourth Amendment,
which generally bars the government. I would recommend that the SEC read the HIPAA
regulations before attempting to review, share with SEC staff or file to the public docket.
Medical records are considered highly sensitive, and they would need Edward’s consent. If
Edward signs a consent agreement that allows the SEC access to the records, they may review.
While the SEC seeks certain orders from the Court, The SEC must be more specific on what
further accounting is needed and then I can try to provide it. At this point, however, I believe that
I have provided everything I can without Edward. Accounting for 2021 cannot be completed
without Edward. I cannot account for wires, checks, deals, and transactions that I was not
involved in and have no idea who the counterparties were. Edward is the only one who can
locate the corresponding documents which I have access to. He cannot do this from memory
while sitting in jail without access to his computer. But he is willing to do this or anything else
that the Court requires. I turn to the Court to direct me on how this should be handled.
The SEC wants the funds left over from Mr. Burstein's retainer payment, but the SEC has no right
to unused retainer funds held by Mr. Burstein. I took out a third loan against my home to pay Mr.
Burstein's retainer. I am still liable to repay that loan. And to date I have not received a full
accounting from Mr. Burstein. I ask the Court to order Mr. Burstein to provide me with a full
detailed accounting of monies, used and unused.
The SEC wants full account statements from Edward, me, my children, and all family-owned
entities by the 15th of each month. We agree to do this.
The SEC wants the Court to order that no accounts be opened, or entities created. A blanket bar
seems overreaching, but we understand that there must be full transparency and ask that this be
discussed in Court.
The SEC requests that the Court order Edward to pay to the SEC by the 15th of each month, 25%
of his gross income above $5,000 and 75% of his gross income above $20,000 per month, with
proof of income and a computation of the remittance due uploaded to the SEC and the Court by
ECF. We think that 75% of Edward's income is unreasonable and note that the percentage was
50% when Ms. King was discussing this with an attorney but ask that this be addressed with the
Court's assistance after reviewing our financial statements.
 Despite the disclosures to date, the SEC asks that Edward be held in "contempt for his continued
 contumacy and for his penny stock bar violations based on the SEC's pending application." We
 believe that Edward is no longer in contempt. The Court holding Edward in contempt and having
 him imprisoned for 16 months have clearly compelled his cooperation. We believe that he is no
 longer in contempt, that he is cooperating and that the Court should hold as such and release
 him.
Finally, Ms. King asks the Court to hold me in contempt. While I believe that I have been
cooperative and not acted in contempt, my letter was by Edward and about Edward and this is his
response. I ask the Court to hold the issue of whether I am in contempt in abeyance until Edward's
issues are decided.


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                                      Respectfully,



                                      Dawn M. Bronson




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